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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )                8:08MJ185
                 Plaintiff,              )
                                         )
   vs.                                   )                 ORDER
                                         )
JOHN OGLESBY,                            )
                                         )
                 Defendant.              )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.

   IT IS ORDERED:

   James J. Regan is appointed to represent the above named defendant in
this matter and shall forthwith file an appearance in this matter.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and James J. Regan.

   DATED this 7th day of October, 2008.

                                         BY THE COURT:


                                         s/ Thomas D. Thalken
                                         United States Magistrate Judge
